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 1                                                                            Honorable James L. Robart
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 4
                             IN THE UNITED STATES DISTRICT COURT
 5
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7
      PHILIPS NORTH AMERICA LLC, a Delaware              Civil Action No.: 2:19-cv-01745-JLR
 8    Company; KONINKLIJKE PHILIPS N.V., a
 9    Company of the Netherlands; and PHILIPS
      INDIA, LTD., an Indian Company,                    STIPULATION AND [PROPOSED]
10                                                       ORDER TO EXTEND TIME FOR
                      Plaintiff,                         DEPOSITIONS OF SONIA SMITH,
11                                                       DREW VOTH, AND PATRICK
             v.                                          KENNEDY
12
                                                         Note on Motion Calendar:
13    SUMMIT IMAGING INC., a Washington
                                                         Thursday, March 25, 2021
      Corporation; LAWRENCE R NGUYEN, an
14    individual; and DOES 1-10, inclusive,
15
                      Defendants.
16
17                                            STIPULATION

18          Plaintiffs Philips North America LLC, Koninklijke Philips N.V. and Philips India, Ltd. and

19   Defendants Summit Imaging, Inc. and Lawrence R. Nguyen, by and through their undersigned

20   counsel of record, hereby stipulate and agree as follows:

21          1. Under the Court’s Minute Order Setting Trial Dates and Related Dates (“Minute

22                Order”), the close of discovery was Monday, March 22, 2021 (Dkt. 71).

23          2. On Monday, March 22, 2021, Summit’s damages expert, Mr. Drew Voth, submitted a

24                corrected version of his expert report, which relied on newly-produced documents. In

25                order to permit Philips to address the corrected report and newly-produced documents,

26                and other newly-produced documents produced by Summit at Philips’ request after

27                March 22, the parties are agreed—subject to the Court’s approval—to the following:

     STIPULATION AND [PROPOSED] ORDER TO
     EXTEND TIME FOR DEPOSITIONS OF SONIA                          SEED INTELLECTUAL PROPERTY LAW GROUP LLP
                                                                          701 FIFTH AVENUE, SUITE 5400
     SMITH, DREW VOTH, AND PATRICK KENNEDY                              SEATTLE, WASHINGTON 98104-7092
     2:19-cv-01745-JLR                  1                                        (206) 622-4900
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 1
               (a) Mr. Voth’s deposition will be continued on March 26, 2021; (b) Ms. Sonia Smith,
 2
               a Summit employee, will also be deposed on March 26, 2021; and (c) Philips’ damages
 3
               expert, Dr. Patrick Kennedy, will be deposed on April 2, 2021.
 4
           3. The parties agree that all other deadlines in the Minute Order shall remain unchanged.
 5
 6         SO STIPULATED AND AGREED: March 25, 2021.

 7   SAVITT BRUCE & WILLEY LLP                      SEED IP LAW GROUP LLP
 8   /s/Stephen C. Willey (with permission)         /s/Marc C. Levy
     Stephen C. Willey, WSBA #24499                 Russell Tarleton, WSBA No. 17006
 9
     1425 Fourth Avenue, Suite 800                  Marc C. Levy, WSBA No. 19203
10   Seattle, Washington 98101-2272                 Jeffrey E. Danley, WSBA No. 52747
     Telephone: 206.749.0500                        Thomas A. Shewmake, WSBA No. 50765
11   Email: swilley@sbwLLP.com                      701 Fifth Avenue, Suite 5400
                                                    Seattle, WA 98104
12                                                  Telephone: (206) 622-4900
     REED SMITH LLP
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     Los Angeles, CA 90067                          Email: TomShewmake@seedip.com
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16   Email: cwirtschafter@reedsmith.com             Attorneys for Defendants,
                                                    Summit Imaging Inc. and
17   Kirsten R. Rydstrom (Pro hac vice)             Lawrence R. Nguyen
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     Attorneys for Plaintiffs
27   Philips North America LLC, Koninklijke
     Philips N.V., and Philips India Ltd.
     STIPULATION AND [PROPOSED] ORDER TO
     EXTEND TIME FOR DEPOSITIONS OF SONIA                       SEED INTELLECTUAL PROPERTY LAW GROUP LLP
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     2:19-cv-01745-JLR                  2                                     (206) 622-4900
           Case 2:19-cv-01745-JLR Document 128 Filed 03/25/21 Page 3 of 3



 1                                         ORDER
 2
          It is so ORDERED.
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          DATED this 25th day of March, 2021.
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 7
 8
                                                A
                                           THE HONORABLE JAMES L. ROBART
                                           United States District Judge
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     STIPULATION AND [PROPOSED] ORDER TO
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